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                    8

                    9                                 UNITED STATES DISTRICT COURT

                   10                             NORTHERN DISTRICT OF CALIFORNIA

                   11

                   12   DFINITY USA RESEARCH, LLC, a limited          Case No. 5:22-cv-03732-EJD
                        liability company,
                   13                                                 REPLY TO PLAINTIFF’S
                                         Plaintiff,                   OPPOSITION TO DEFENDANT ERIC
                   14                                                 BRAVICK’S MOTION TO DISMISS
                               v.
                   15                                                 Date:        January 26, 2023
                        ERIC BRAVICK, an individual and DOES 1        Time:        09:00 a.m.
                   16   through 100, inclusive,                       Ctrm.:       4, 5th Floor
                                                                      Judge:       The Hon. Edward J. Davila
                   17                    Defendant.
                                                                      Complaint filed: May 11, 2022
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& MORING LLP                                                                   REPLY TO OPPOSITION TO MOTION TO DISMISS;
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                    1   I.      INTRODUCTION
                    2           Plaintiff Dfinity USA Research, LLC (“Dfinity USA” or “Plaintiff”) alleges that Eric

                    3   Bravick (“Bravick” or “Defendant”) failed to return unspecified computer equipment

                    4   (“Equipment”) to Plaintiff after it fired Mr. Bravick. (See Dkt. 1, Ex. 1 (“Complaint,”) ¶ 9.)

                    5   Among other causes of action, Plaintiff asserts claims under California Penal Code section 496(c)

                    6   and for “Unjust Enrichment/Constructive Trust.” Plaintiff’s Complaint fails to state a claim for

                    7   either and Plaintiff’s Opposition to Defendant’s Motion to Dismiss (“Opp.”) does not provide a

                    8   basis on which either of those two claims could proceed. Instead, the Opposition introduces new

                    9   allegations not found in the Complaint, including that data1 on the hardware at issue was also

                   10   stolen (Opp. at 1,) and introduces legal theories based on bad or inapplicable case law.2

                   11           Plaintiff cannot state a claim for relief under California Penal Code section 496(c) because

                   12   the acts it alleges took place in Michigan. Without a clear expression of intent from the California

                   13   legislature—Plaintiff points to none—California’s Penal Code does not apply extraterritorially.

                   14   And even if it did, Plaintiff has not pleaded the required level of knowledge by Mr. Bravick to

                   15   maintain this claim. And Plaintiff cannot state a claim for “Unjust Enrichment/Constructive

                   16   Trust” because those are not stand-alone causes of action under California law. This Court should

                   17   dismiss these causes of action with prejudice.

                   18   II.     ARGUMENT
                   19           Although a court must “accept as true all well-pleaded allegations of material fact … [it

                   20   need not] accept as true allegations that contradict exhibits attached to the Complaint or matters

                   21   properly subject to judicial notice, or allegations that are merely conclusory, unwarranted

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                                1
                                  Notably, Plaintiff attempts to conjure a “data” based theory without even attempting to
                   23   meet the requirements of any law that would protect data, such as trade secret, copyright or
                        another legal framework. Nor is there any identification of data. Data is not “property” in the
                   24   absence of establishing a recognized legally protected interest and Plaintiff does not even try. The
                        implication of some unidentified “data” in this manner is troubling and suggests that this case is
                   25   not about computer equipment (which Mr. Bravick does not possess or control), but rather a
                        pretext for Plaintiff to go on a fishing expedition into Mr. Bravick’s current commercial efforts in
                   26   the same space and into his personal affairs, without any basis whatsoever.
                                2
                                  In one particularly egregious example, Plaintiff cites a decision, O’Connor v. Uber
                   27   Techs., Inc., 2013 WL 6354534, at *5 (N.D. Cal. Dec. 5, 2013), (see Opp. at 8,) that was
                        expressly, definitively, and unambiguously overturned by a later decision in the same case.
                   28   O’Connor v. Uber Technologies, Inc., 58 F. Supp. 3d 989 (N.D. Cal., 2014).
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                    1   deductions of fact, or unreasonable inferences.” Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992,
                    2   998 (9th Cir. 2010) (citations omitted). A court may dismiss a claim “based on the lack of a
                    3   cognizable legal theory or the absence of sufficient facts alleged.” Yoshikawa v. Seguirant, 41
                    4   F.4th 1109 (9th Cir. 2022) (internal quotation marks and citation omitted); Solida v. McKelvey,
                    5   820 F.3d 1090, 1096 (9th Cir. 2016).
                    6          Plaintiff has failed to state a claim under either California Penal Code section 496(c) or for
                    7   “Unjust Enrichment/Constructive Trust.” The latter is not a cause of action in California; instead
                    8   it is a remedy. And the former is inapplicable when, as here, the entire alleged “theft” took place
                    9   in Michigan. Thus, this Court should dismiss both claims with prejudice.
                   10          A.      Plaintiff has not stated a claim under California Penal Code section 496(c)
                   11          California Penal Code section 496(c) imposes civil liability on defendants who violate
                   12   section 496(a) or (b). No provisions of section 496 suggest that the California Legislature
                   13   intended it to apply outside the state of California. Nor can Plaintiff cite any instance of a court
                   14   imposing liability under section 496 for acts that took place outside the state of California. This
                   15   Court should find that Plaintiff cannot overcome California’s strong presumption against the
                   16   extraterritorial application of its laws. But even if Plaintiff could overcome that presumption, this
                   17   Court should still dismiss Plaintiff’s claim, because Plaintiff has not alleged a key element.
                   18                  1.      California Has a Strong Presumption Against Extraterritoriality
                   19          “California’s Supreme Court has made clear that there is a strong presumption against the
                   20   extra-territorial application of California law.” Ehret v. Uber Techs., Inc., 68 F. Supp. 3d 1121,
                   21   1129–30 (N.D. Cal. 2014). “However far the Legislature’s power may theoretically extend, we
                   22   presume the Legislature did not intend a statute to be operative, with respect to occurrences
                   23   outside the state ... unless such intention is clearly expressed or reasonably to be inferred from the
                   24   language of the act or from its purpose, subject matter or history.” Sullivan v. Oracle Corp., 51
                   25   Cal. 4th 1191, 1207 (2011) (internal citations and quotation marks omitted; alteration in original).
                   26   A violation of California Penal Code 496(c) could not have occurred before Mr. Bravick was
                   27   fired, which happened while he was living in Michigan. (Complaint ¶¶ 8 and 10.) While he was
                   28   employed by Dfinity USA he was in legal possession of the property at issue. There are no acts
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                    1   within the state of California giving rise to liability, and thus, this section does not apply.
                    2           Defendant is unaware of any cases applying California Penal Code section 496
                    3   extraterritorially, and Plaintiff cites none. Instead, Plaintiff relies on a handful of other criminal
                    4   law cases in which California applied its criminal statutes extraterritorially. But none of those
                    5   cases has any applicability here. In People v. Betts, 34 Cal. 4th 1039, 1044 (2005), the criminal
                    6   acts took place in California. The issue was whether proof of that needed to be submitted to a
                    7   jury. Id. at 1047-48. The issue in Hageseth v. Superior Ct., 150 Cal. App. 4th 1399, 1408 (2007)
                    8   was whether a phony doctor, working online but with patients in California, was liable for the
                    9   unlicensed practice of medicine. Id. at 1403. In that case, as in Betts, the court relied on the
                   10   provisions of the California Penal Code that apply extraterritorially because they explicitly state
                   11   that they are meant to apply extraterritorially. Both cases rely on California Penal Code section
                   12   778, which applies to a criminal act “commenced without the state,” it must be “consummated
                   13   within its boundaries.” Cal. Penal Code § 778 (emphasis added).
                   14           Plaintiff has provided no evidence that the Legislature intended to apply California Penal
                   15   Code section 496 extraterritorially, nor could it provide that evidence. While Plaintiff cites a
                   16   litany of Penal Code provisions, (see Opp. at 8-9,) none of those provisions applies here. First,
                   17   both section 781 and section 786 address venue in California when a crime is committed in more
                   18   than one county, not when crimes are committed in other states. See, e.g., Stevenson v. Lewis, 384
                   19   F.3d 1069, 1072 (9th Cir. 2004) (section 781); People v. Simon, 25 Cal. 4th 1082, 1094 (2001)
                   20   (section 786). Both sections refer to “jurisdictional territory.” Plaintiff argues that this means
                   21   other states. But “‘[j]urisdictional territory,’ in this context, signifies a county.” Betts, 34 Cal. 4th
                   22   at 1057 n.12 (citing Cal. Penal Code § 691(b)).3 Plaintiff must be aware of this, as it relies on the
                   23   Betts decision for its argument.
                   24           Not only that, but Plaintiff’s reliance on California Penal Code section 778’s
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                                3
                   26             California Penal Code section 691(b) reads in full “The words ‘jurisdictional territory’
                        when used with reference to a court, mean the city and county, county, city, township, or other
                   27   limited territory over which the criminal jurisdiction of the court extends, as provided by law, and
                        in case of a superior court mean the county in which the court sits.”
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                    1   extraterritorial provision is an argument against the extraterritorial application of section 496, not
                    2   for it. Its existence shows that the California Legislature knows how to expressly make statutes
                    3   apply extraterritorially, 4 and the fact that it did not state that section 496 applies extraterritorially
                    4   shows that it did not intend it to. Russello v. United States, 464 U.S. 16, 23 (1983) (“[W]here
                    5   Congress includes particular language in one section of a statute but omits it in another section of
                    6   the same Act, it is generally presumed that Congress acts intentionally and purposely in the
                    7   disparate inclusion or exclusion.”) (internal quotation marks and citation omitted; alteration in
                    8   original); Gallardo By & Through Vassallo v. Marstiller, __ U.S. __, 142 S. Ct. 1751, 1759
                    9   (2022); Ctr. for Investigative Reporting v. United States Dep’t of Just., 14 F.4th 916, 930 (9th Cir.
                   10   2021); Field v. Mans, 516 U.S. 59, 75 (1995) (the “negative pregnant” rule of construction is
                   11   strongest when applied “to contrasting statutory sections originally enacted simultaneously in
                   12   relevant respects…”).
                   13           Plaintiff then claims that because the harm of Mr. Bravick’s purported “theft” was felt in
                   14   California, he is subject to the laws of California. (Opp. at 10.) This argument has been rejected in
                   15   the context of personal jurisdiction, see, e.g., Walden v. Fiore, 571 U.S. 277, 290 (2014), and
                   16   should be rejected in the context of extraterritorial application of a state’s laws, which logically
                   17   must meet an even higher standard; if it did not, courts could never reach the question of
                   18   extraterritoriality. Ratha v. Phatthana Seafood Co., 2017 WL 8292922, at *4 (C.D. Cal. Dec. 21,
                   19   2017), aff’d, 26 F.4th 1029 (9th Cir. 2022), aff’d sub nom. Ratha v. Phatthana Seafood Co., 35
                   20   F.4th 1159 (9th Cir. 2022) (“Plaintiffs cannot establish extraterritorial jurisdiction . . . by simply
                   21   relying on their minimum contacts analysis”). Plaintiff’s argument further confuses the test for
                   22   personal jurisdiction, which analyzes minimum contacts, with the test for extraterritorial
                   23   application. Extraterritorial application is a question of subject-matter jurisdiction or the merits of
                   24
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                   25             See also, e.g., Cal. Penal Code § 27. Under section 27(a)(2), a person is subject to
                        California’s jurisdiction if they “commit any offense without this state which, if committed within
                   26   this state, would be larceny, carjacking, robbery, or embezzlement under the laws of this state,
                        and bring the property stolen or embezzled, or any part of it, or are found with it, or any part of it,
                   27   within this state.” Plaintiffs are not claiming that Mr. Bravick brought the allegedly stolen
                        property within California, a requirement under the statute.
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                    1   a claim, not personal jurisdiction. See, e.g., Hageseth, 150 Cal. App. 4th at 1412.5
                    2          Plaintiff’s reading of the statute would also lead to absurd results. California courts “avoid
                    3   any construction that would produce absurd consequences.” Flannery v. Prentice, 26 Cal. 4th572,
                    4   578 (2001). Were California Penal Code section 496 to apply extraterritorially, then any instance
                    5   of shoplifting at an Apple store in any other state would confer jurisdiction on California courts.
                    6   That cannot be what the Legislature intended when it enacted California Penal Code section 496.
                    7   Cf. League To Save Lake Tahoe v. Tahoe Reg’l Plan. Agency, 105 Cal. App. 3d 394, 398, 164
                    8   Cal. Rptr. 357, 360 (Ct. App. 1980) (“[I]ndirect consequences … do not supply the nexus
                    9   between the litigation and the forum necessary to confer jurisdiction in a civil action. To construe
                   10   [the statute] so broadly would render its deliberately drown limitations on extra-territorial
                   11   jurisdiction virtually nugatory.”).
                   12
                                       2.         A Choice of Law Provision Does Not Overcome the Presumption
                   13                             Against Extraterritoriality.

                   14          Plaintiff also argues that because the employment agreement between Mr. Bravick and
                   15   Dfinity USA includes a choice-of-law clause for California law, the California Penal Code should
                   16   govern. (Opp. at 6-8.) This argument is incorrect.
                   17          First, a choice-of-law clause does not automatically overcome the presumption against
                   18   extraterritoriality, because the presumption is based on due process and jurisdiction. Sullivan, 51
                   19   Cal. 4th at 1207 n.9; Elzeftawy v. Pernix Grp., Inc., 477 F. Supp. 3d 734, 779 n. 21 (N.D. Ill.
                   20   2020) (“even the most expansive definition of California extraterritoriality is still limited by
                   21   federal due process.”).
                   22          Second, the only accurately cited case Plaintiff dredges up does not hold otherwise: there,
                   23   the court held that “[h]onoring that choice of law does not give extraterritorial application to the
                   24   statute, even if the contract was performed partially outside of California, so long as the contract
                   25   itself was properly governed by California law.” Gravquick A/S v. Trimble Navigation Int’l Ltd.,
                   26
                               5
                                 In certain contexts, such as the Lanham Act, extraterritoriality is a merits question, see,
                   27   e.g., Trader Joe’s Co. v. Hallatt, 835 F.3d 960, 966 (9th Cir. 2016), but in those contexts the issue
                        is whether conduct falls under the statute, not whether the law applies in a particular location. See
                   28   id.
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                    1   323 F.3d 1219, 1222 (9th Cir. 2003) (emphasis added). Plaintiff also cites O’Connor, 2013 WL
                    2   6354534, at *5, but the portion of that case that Plaintiff relies on was expressly repudiated by
                    3   this Court. O’Connor, 58 F. Supp. 3d 989. In re-evaluating its decision, the Court found that it
                    4   had misread Gravquick in its earlier decision:
                    5                  It is thus apparent that the court in Gravquick did not hold that a
                                       California choice of law provision can overcome the presumption
                    6                  against extraterritorial application of California law. Instead, the
                                       court recognized that parties’ agreement to apply California law
                    7                  must yield in those circumstances where the law in question
                                       contains “geographical limitations.” While Gravquick makes clear
                    8                  one such circumstance is where the legislation contains an explicit
                                       limitation, there is no logical reason to reach a different result
                    9                  where that limitation is implicit, especially when the California
                                       Supreme Court has made clear that such limitations are presumed to
                   10                  be present…

                   11   O’Connor, 58 F. Supp. 3d at 1004. And “later cases analyzing Gravquick clarified that when a
                   12   choice-of-law clause imports California law, it necessarily brings California’s presumption
                   13   against extraterritorial application along with it.” Ward v. CareFusion Sols., LLC, 2018 WL
                   14   1320225, at *2 (Del. Super. Ct. Mar. 13, 2018); see also Wright v. Adventures Rolling Cross
                   15   Country, Inc., 2012 WL 12942824, at *4 (N.D. Cal. May 3, 2012).
                   16          Third, this Court has also specifically disclaimed the applicability of Gravquick to
                   17   employer/employee relationships:
                   18                  When companies from different states enter into a distribution
                                       agreement where goods are transported between states, they may, to
                   19                  avoid future confusion, specify which state’s law applies to the
                                       transaction, since both laws could potentially apply. See Gravquick,
                   20                  323 F.3d at 1225. And in this case, it made sense for the parties to
                                       identify which state’s law applies to interpretation of the contract
                   21                  itself, because the parties who entered into that contract are from
                                       different states (Lyft being from California and the driver being
                   22                  from elsewhere), meaning that the contract law of either state could
                                       apply. But with respect to the employer-employee relationship
                   23                  relating to work performed exclusively in one state, only the law of
                                       that state can apply, which means a choice of law provision has no
                   24                  application in this context.

                   25   Cotter v. Lyft, Inc., 60 F. Supp. 3d 1059, 1066 (N.D. Cal. 2014). Here, Mr. Bravick could not
                   26   have “stolen” the Equipment while in California. Plaintiff must have known that, as it both
                   27

                   28
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                    1   alleges that it shipped the Equipment to him in Michigan (Complaint ¶¶ 8-9,)6 fired him when he
                    2   lived in Michigan (id. ¶¶ 8 and 10,) and demanded the return of the Equipment while he lived in
                    3   Michigan. (Id.¶ 11).
                    4           Finally, Plaintiff argues that it is acceptable to impose liability on Mr. Bravick because
                    5   claims that “no fundamental public policy of Michigan would be harmed by the application of
                    6   California law.” (Opp. at 7.) But the issue here is not conflicts of laws; it is whether Mr. Bravick
                    7   is subject to a California law that does not have any extraterritorial effect. Thus, whether
                    8   Michigan’s public policy is offended is not at stake. None of the cases Plaintiff cites address the
                    9   question of extraterritorial application as it appears in this case.
                   10                   3.      Plaintiff has not adequately alleged any facts establishing possession or
                                                control over the property or the knowledge element of California
                   11                           Penal Code 496(c)
                   12           Even if California Penal Code section 496 had an extraterritorial application, and even if it
                   13   applied here, Plaintiff has still failed to state a claim for relief. A claim under California Penal
                   14   Code section 496(c) must allege that “(1) that the property has been stolen; (2) that the accused
                   15   received, concealed or withheld it from its owner; and (3) that the accused knew the property was
                   16   stolen.” Nowak v. Xapo, Inc., 2020 WL 6822888, at *2 (N.D. Cal. Nov. 20, 2020) (quoting
                   17   People v. Stuart, 272 Cal. App. 2d 653, 656 (1969)).
                   18           First, Plaintiff does not allege any facts whatsoever that would establish that Plaintiff has
                   19   possession or control over the Equipment, nor can it because Mr. Bravick simply does not possess
                   20   or control the Equipment. For example, Plaintiff carefully avoids addressing any facts relating to
                   21   whether the Equipment is actually in control of Plaintiff or other third-parties associated with
                   22   Plaintiff, and has been deployed for Plaintiff’s business at all times (and not in possession of Mr.
                   23   Bravick). Instead, Plaintiff alludes only very generally to computer equipment that was used by
                   24   the company during the time of Mr. Bravick’s employment, but does not allege a single fact that
                   25   would show that he had the equipment in his possession or control at the time his employment
                   26
                                6
                                 Plaintiff now claims that Mr. Bravick “received at least some of the property he stole”
                   27   while living in California. (Opp. at 7.) Plaintiff does not cite to its Complaint, because the
                        Complaint contains no allegation that Mr. Bravick received property while he was living in
                   28   California. (Complaint ¶¶ 8-9.)
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                    1   was terminated, now or at any time. It is sheer conjecture. There are only broad, unsupported
                    2   assertions and no facts to undergird the allegations. See, e.g., Wilson v. Hewlett-Packard Co., 668
                    3   F.3d 1136, 1146–47 (9th Cir. 2012) (dismissing a complaint for making “merely conclusory”
                    4   allegations); Ryan v. Microsoft Corp., 147 F. Supp. 3d 868, 883 (N.D. Cal. 2015) (reiterating
                    5   earlier decision that a complaint “bereft of any dates or details” was “merely conclusory.”
                    6   (emphasis in original)); Finley v. TransUnion, WL 935138, at *4 (N.D. Cal. Feb. 26, 2019)
                    7   (allegations without separate factual support are “merely conclusory.”); In re Mortg. Fund ‘08
                    8   LLC, 527 B.R. 351, 365 (N.D. Cal. 2015). Second, Plaintiffs have not alleged that Mr. Bravick
                    9   knew the property he is alleged (without support) to have possessed was stolen, nor have they
                   10   alleged that he withheld the property knowing it was stolen. Mr. Bravick could not have
                   11   knowledge that he was in possession of allegedly stolen property based on two email
                   12   communications from Plaintiff making no mention of theft. And although Plaintiff once again
                   13   brings up police reports, including one alleged conversation and one unsuccessful attempt to
                   14   contact Mr. Bravick, these reports would only have alerted Mr. Bravick of a claim of theft, not
                   15   that he had knowledge of any theft. See Nowak, 2020 WL 6822888, at *3 (filing a complaint is
                   16   insufficient to show actual knowledge of a theft).
                   17          Plaintiff accuses Mr. Bravick of “improperly inject[ing] new emails into the record.”
                   18   (Opp. at 2, n.1.) But those emails are incorporated by reference. See, e.g., Davis v. HSBC Bank
                   19   Nevada, N.A., 691 F.3d 1152, 1160 (9th Cir. 2012);7 see also Perkins v. Linkedin Corp., 53 F.
                   20   Supp. 3d 1222, 1240 (N.D. Cal. 2014) (“The purpose of this rule is to ‘prevent plaintiffs from
                   21   surviving a Rule 12(b)(6) motion by deliberately omitting documents upon which their claims are
                   22   based.’”) (quoting Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007)). Nor does Plaintiff
                   23   raise any question about the authenticity of the documents. See Davis at 1161; Dickey v.
                   24   Advanced Micro Devices, Inc., 2016 WL 6427852, at *3 (N.D. Cal. Oct. 31, 2016) (“A court,
                   25
                               7
                   26             Without those emails, Plaintiff has no claim that Mr. Bravick had any knowledge of
                        what property Dfinity USA wanted returned. (See Complaint ¶¶ 12-13.) The only other allegation
                   27   that Mr. Bravick would have known that Plaintiff wanted him to return anything, does not even
                        state that directly, even upon information and belief. (See Complaint ¶ 14.) Thus, without these
                   28   emails, Plaintiff’s cause of action should be dismissed.
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                    1   however, ‘may take into account documents whose contents are alleged in a complaint and whose
                    2   authenticity no party questions, but which are not physically attached to the [plaintiff’s]
                    3   pleading.’”) (quoting Davis at 1160; alteration in original).
                    4          Plaintiff relies on one case to argue that the knowledge element of the claim can be
                    5   inferred from circumstances, rather than being explicitly in its pleadings: People v. Boyden, 116
                    6   Cal. App. 2d 278, 288 (1953). But in Boyden, a nearly seventy-year-old criminal case, the court
                    7   inferred knowledge that goods were stolen because the defendant received the goods from
                    8   someone he knew from a stint in the county jail. “It could reasonably be inferred that such former
                    9   inmate of the county jail was a person of unsavory or questionable character and known by
                   10   appellant to be such.” Id. In contrast, Mr. Bravick is alleged to have received the purportedly
                   11   stolen goods here from Plaintiff itself. Now, Plaintiff claims that two email communications to
                   12   Mr. Bravick, neither of which is alleged to include a claim of theft, are enough to put him on
                   13   notice that he was in possession of allegedly stolen property and provides no authority besides
                   14   Boyden to support this proposition. That is not enough.
                   15
                               B.      Unjust Enrichment and Constructive Trusts are Remedies, not Causes of
                   16                  Action in California

                   17          Plaintiff styles one claim as “Unjust Enrichment/Constructive Trust.” Neither of those is a
                   18   cause of action in California. Not only are they remedies, but each is foreclosed based on
                   19   Plaintiff’s allegations. This Court should dismiss that cause of action for failure to state a claim.
                   20                  1.      Unjust Enrichment is not a Standalone Cause of Action
                   21          California does not recognize unjust enrichment as a standalone action. Astiana v. Hain
                   22   Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015). Plaintiff claims that this argument is
                   23   “foreclosed” by Astiana, because “under California law, an unjust enrichment claim is construed
                   24   ‘as a quasi-contract claim.’” (Opp. at 10 (emphasis added) (quoting Astiana, 783 F.3d at 762).)
                   25   That is a misrepresentation of the holding in Astiana. There, the court held that a court “may
                   26   construe the cause of action as a quasi-contract claim seeking restitution.” Astiana, 783 F.3d at
                   27   762 (emphasis added; internal quotation marks omitted). And it did so because the plaintiff—
                   28   unlike Dfinity USA in this case—had actually alleged quasi-contract. While a court may construe
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                    1   a claim for unjust enrichment as one for quasi-contract, that decision is within the court’s
                    2   discretion. See, e.g., Jonathan Chuang v. Dr. Pepper Snapple Grp., Inc., 2017 WL 4286577, at *7
                    3   (C.D. Cal. Sept. 20, 2017).
                    4           This Court should not construe Plaintiff’s claims for unjust enrichment as one for quasi-
                    5   contract, because Plaintiff has not alleged the elements of a quasi-contract claim in their
                    6   complaint. See, e.g., In re Apple Processor Litig., 2022 WL 2064975, at *12 (N.D. Cal. June 8,
                    7   2022) (refusing to construe a claim for unjust enrichment as a claim for quasi-contract when the
                    8   plaintiff had failed to sufficiently plead fraud) (Davila, J.). “A quasi-contract claim typically
                    9   involves a plaintiff seeking a return of a benefit that the defendant had unjustly gained through
                   10   ‘mistake, fraud, coercion, or request.’” Souter v. Edgewell Pers. Care Co., 542 F. Supp. 3d 1083,
                   11   1099 (S.D. Cal. 2021) (quoting Astiana, 783 F.3d at 762). Plaintiffs have not alleged how Mr.
                   12   Bravick might have benefited or won a “financial gain” by allegedly refusing to return the
                   13   hardware at issue. The only allegation related to this, (Complaint ¶ 50,) is an unadorned assertion.
                   14           Plaintiff’s entire claim is based on a contract. That is specifically the situation in which a
                   15   claim for quasi-contract does not exist. Mosier v. Stonefield Josephson, Inc., 815 F.3d 1161, 1172
                   16   (9th Cir. 2016) (quoting Cal. Med. Ass’n, Inc. v. Aetna U.S. Healthcare of Cal., Inc., 94 Cal. App.
                   17   4th 151 (2001)); Turnier v. Bed Bath & Beyond Inc., 517 F. Supp. 3d 1132, 1141 (S.D. Cal. 2021)
                   18   (dismissing claim for unjust enrichment where “there was an express contract related to the
                   19   conduct at issue.”); Soc. Life Network, Inc. v. LGH Invs., LLC, 2022 WL 2718615, at 4 (S.D. Cal.
                   20   July 13, 2022) (dismissing quasi-contract claim where allegation “[made] clear the dispute
                   21   relate[d] to an express contract” that was not alleged to be void); Hall v. Marriott Int’l, Inc., 2020
                   22   WL 4727069, at *13 (S.D. Cal. Aug. 14, 2020) (same). “When parties have an actual contract
                   23   covering a subject, a court cannot—not even under the guise of equity jurisprudence—substitute
                   24   the court's own concepts of fairness regarding that subject in place of the parties’ own contract.”
                   25   Hedging Concepts, Inc. v. First All. Mortg. Co., 41 Cal. App. 4th 1410, 1420 (1996).
                   26           Next, Plaintiff claims that they may plead “alternative claims for relief.” (Opp. at 11.)
                   27   That may be true, but Plaintiff is still limited to alleging actual causes of action. Plaintiff cites
                   28   cases that allow a party to plead multiple causes of action that would ultimately have duplicative
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                    1   recovery. See Bailey v. Anthem Blue Cross Life & Health Ins. Co., 2017 WL 2335363, at *3
                    2   (N.D. Cal. May 23, 2017); Weingand v. Harland Fin. Sols., Inc., 2012 WL 3763640, at *4 (N.D.
                    3   Cal. Aug. 29, 2012).8 Neither of those cases holds that a plaintiff can maintain a cause of action
                    4   that does not exist. At most, Weingand would allow a plaintiff alleging unjust enrichment to
                    5   proceed on a claim for quasi-contract, but only if they had actually pleaded the elements of quasi-
                    6   contract. Weingand, 2012 WL 3763640, at *4. But even in the alternative, Plaintiff has neither
                    7   alleged the elements of a claim for quasi-contract and nor made even more than a cursory effort to
                    8   claim that it has. (See Opp. at 11.)
                    9                  2.      Constructive Trust is an Equitable Remedy, not a Cause of Action
                   10          Unable to substantiate its claim that this Court must treat its unjust enrichment claim as a
                   11   quasi-contract, Plaintiff then cites a handful of cases for the proposition that “as a matter of
                   12   practice, a constructive trust may be pled as a separate claim.” But Plaintiff cannot avoid the clear
                   13   law holding that a constructive trust is a remedy, not a cause of action. Mattel, Inc. v. MGA Ent.,
                   14   Inc., 616 F.3d 904, 908-909 (9th Cir. 2010), as amended on denial of reh’g (Oct. 21, 2010).
                   15   Plaintiff’s own Opposition characterizes constructive trust as a remedy. (Opp. at 12.) And federal
                   16   courts have dismissed purported constructive trust claims as improper. See Swanson v. ALZA
                   17   Corp, 2013 WL 968275, at *13 (N.D. Cal. Mar. 12, 2013) (collecting cases); see also Kozlowski
                   18   v. Stroomberg, 2013 WL 5883672, at *5 (E.D. Cal. Aug. 21, 2013).
                   19          Even some of the cases cited by Plaintiff recognize that “constructive trust” is a remedy,
                   20   not a cause of action. See, e.g., Microsoft Corp. v. Suncrest Enter., 2006 WL 1329881, at *8
                   21   (N.D. Cal. May 16, 2006) (“Although Defendants technically are correct that constructive trust is
                   22   a remedy, rather than a freestanding claim, as a matter of practice constructive trust commonly is
                   23   pleaded as a separate claim and the Court will not grant summary judgment on this basis.”).
                   24          Plaintiff’s strongest argument would be that because a constructive trust is commonly
                   25   pleaded as an independent cause of action, it should be permitted to do so here. That might be
                   26
                               8
                                  Weingand confirms that unjust enrichment is not an independent cause of action in
                   27   California: “With respect to the unjust enrichment claim, Plaintiff makes the new argument that
                        there is no such independent cause of action in California. Plaintiff is correct.” Weingand, 2012
                   28   WL 3763640, at *4.
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                    1   true if Plaintiff had pleaded sufficient facts in support of a cause of action that entitled them to the
                    2   remedy of a constructive trust. See Campbell v. Superior Ct., 132 Cal. App. 4th 904, 921 (2005).
                    3   They have not done so. “Because the concept is one of remedy designed solely to prevent unjust
                    4   enrichment, the incidents of a constructive trust differ from those of an express or resulting trust.”
                    5   Haskel Eng’g & Supply Co. v. Hartford Acc. & Indem. Co., 78 Cal. App. 3d 371, 375, 144 Cal.
                    6   Rptr. 189, 192 (Ct. App. 1978). In other words, Plaintiff must allege some benefit that accrued to
                    7   Mr. Bravick. It has alleged none.
                    8             Finally, Plaintiff must also allege some reason why the remedies available at law are
                    9   inadequate. See, e.g., In re Apple Processor Litig., 2022 WL 2064975, at *11 (“However,
                   10   Plaintiffs do not argue anywhere in their Opposition how this relief would ‘go beyond the
                   11   damages available to them’ or that it would be more ‘certain, prompt, or efficient than the legal
                   12   remedies they request.’”) (quoting Anderson v. Apple Inc., 500 F. Supp. 3d 993, 1009 (N.D. Cal.
                   13   2020)).
                   14   III.      CONCLUSION
                   15             Plaintiff’s claims for civil penalties under California Penal Code Section 496(c) and unjust
                   16   enrichment/constructive trust should be dismissed for failure to state a claim.
                   17

                   18   Dated: August 12, 2022                           Respectfully submitted,
                   19                                                    CROWELL & MORING LLP
                   20

                   21                                                    By: /s/ Joachim B. Steinberg
                                                                             Gabriel M. Ramsey
                   22                                                        Joachim B. Steinberg
                   23                                                        Attorneys for Defendant
                                                                             ERIC BRAVICK
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